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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                   Chapter 13
         SOOMOCK SHIM
                                                         Bankruptcy No. 19-13972-JKF

                               Debtor

         TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of
Pennsylvania:

1.      Your Movant is Scott F. Waterman, Esq. the duly qualified and acting Chapter 13 Trustee
in the above-captioned case.

2.       The within case was commenced by the filing of a Chapter 13 petition on 06/21/2019.

3.       This Motion to Dismiss has been filed for the following reason(s):

         •   The Debtor(s) has/have failed to commence or continue making timely payments to
             the Trustee as required by 11 U.S.C. Section 1326.

         •   There has been unreasonable delay as defined by 11 U.S.C Section 1307(c)(1) by the
             above-captioned Debtor(s).

        WHEREFORE, Scott F. Waterman, Esq., Standing Chapter 13 Trustee, requests that the
Court, after a hearing, enter an Order dismissing this case.

Date: 12/03/2019                                  Respectfully submitted,

                                                 /s/ Polly A. Langdon, Esq.
                                                 Polly A. Langdon, Esq.
                                                 for
                                                 Scott F. Waterman, Esq.
                                                 Standing Chapter 13 Trusteee
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